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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA
 and the STATE OF GEORGIA,

 Plaintiffs,
                                                      Civil Action
 v.                                             No. 1:10-cv-04039-SDG

 DEKALB COUNTY, GEORGIA,

 Defendant.

                       SECOND JOINT STATUS REPORT

       On July 10, 2020, Plaintiffs the United States of America and the State of

Georgia and Defendant DeKalb County, Georgia, collectively the “Parties,”

informed the Court that the Parties have reached an agreement in principle to

modify the Consent Decree in this case.1 On August 31, 2020, this Court issued an

order directing the Parties to file a second joint status report on or before

September 10, 2020, providing an estimated date by which the Parties expect to

receive the necessary approvals and file the proposed Modification to the Consent

Decree.2




1   ECF 53.
2   ECF 56.
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      Pursuing the requisite approvals for the proposed Modification involves a

sequential process. The Plaintiffs first seek approval. Only after Plaintiffs’

approvals are secured does DeKalb County seek its necessary approvals, which

include a vote by the County’s Board of Commissioners and final approval of the

County’s Chief Executive Officer. The Parties expect these necessary approvals to

be completed in the next six weeks and anticipate that the United States will be in

position to lodge the proposed Modification with the Court on or before Friday,

October 23, 2020. If the proposed Modification is not lodged by October 23, 2020,

the Parties will file an updated status report on or before that date.

      After the lodging of the proposed Modification, pursuant to 28 C.F.R.

§ 50.7, the Department of Justice will publish in the Federal Register a notice of

the lodging of the proposed Modification. The notice will solicit public comments

on the proposed Modification for a period of not less than thirty (30) days from the

date of publication in the Federal Register. After the close of the comment period,

the United States will evaluate any comments received and will advise the Court as

to whether the United States requests that the Modification be entered.




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     Respectfully submitted this 10th day of September, 2020.



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                         CERTIFICATE OF SERVICE
       I certify that I have electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system, which automatically sends email notification of
such filing to all attorneys of record.
      This 10th day of September, 2020.
                                       /s/ Valerie K. Mann




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